                       Case 1:24-cv-00067-BAH Document 15-4 Filed 06/18/24 Page 1 of 1

                                                  Submit New Request

Requester Details


To modify request details please update your requester profile or contact the our office for assistance.

Rod Rosenstein
King & Spalding LLP
1700 Pennsylvania Ave NW
Washington, DC 20006
Phone 2027370500
rrosenstein@kslaw.com

Requester Default Category: Law Office

General Information

Action Office                   EOUSA
Request Type                    FOIA
Delivery Mode                   E-mail


Request Information

Date Range for Record           01/01/2020
Search:From
Date Range for Record           10/20/2023
Search:To
                                On behalf of Battle Born Investments Company, LLC, I hereby request under the Freedom of
                                Information Act copies of records and documents showing (1) the name of the person who
                                signed a Consent and Agreement to Forfeiture with the U.S. Attorney’s Office, Northern District
                                of California, on or about November 3, 2020, concerning a cryptocurrency wallet referred to as
                                1HQ3 in United States v. Approximately 69,370 Bitcoin, et al., Case No. 3:20-cv-7811-RS (N.D.
                                Cal.); (2) the name of any person believed to have owned, possessed, or controlled that wallet;
                                and (3) the name of the person referred to as “Individual X” in that case.

                                No FOIA exemption authorizes the Government to conceal the identity of a person who
Description of Records Sought   forfeited, owned, possessed, or controlled the wallet worth approximately $2 billion. There is no
                                valid privacy expectation, and this is a matter of tremendous public concern, as reflected in the
                                Government’s decision to issue a press release describing it as “the largest seizure of
                                cryptocurrency.” N.D. Cal. U.S. Attorney’s Office, “United States Files A Civil Action To Forfeit
                                Cryptocurrency Valued At Over One Billion U.S. Dollars” (Nov. 5 2020); see also Merrick
                                Garland, Memorandum for Heads of Executive Departments and Agencies (Mar. 15, 2022)
                                (“Transparency in government operations is a priority of … this Department.”).

                                We are willing to pay fees for this request up to a maximum of $1,000. If you estimate that fees
                                will exceed this limit, please advise me and seek consent in advance.
Supporting Documents            2023.10.18.Battle.Born.FOIA.DOJ.pdf


Fee Information

Willing Amount                  $1000
Fee Waiver Requested            No
Fee Waiver Request Reason
Willing to Pay All Fees         No


Expedite Information

Expedite Requested              No
Expedite Reason
